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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

NORMAN HOEWISCHER, Individually,

       Plaintiff,                                             CASE NO. 3:11-cv-842

v.

WILLIAMS HUNTLEY, and LOUIS HUNTLEY,
Individuals, and WT & LL INVESTMENTS, Individuals,
and WT & LL INVESTMENTS,
A Partnership,

      Defendant.
____________________________________/

                          PLAINTIFF’S NOTICE OF SETTLEMENT

       Plaintiff, Norman Hoewischer, by and through undersigned counsel, hereby notifies the

Court that the parties have fully resolved all outstanding issues and are in the process of

exchanging the fully executed settlement documents. The parties anticipate that this process will

be complete within 30 days and will file a stipulation of dismissal with prejudice. Plaintiff

therefore requests that all pending motions be denied as moot and that the Court grant them 30

days in which to file their dismissal.




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                                                     Respectfully submitted,

                                                     Attorney for Plaintiff:

                                                     _/s/ Thomas B. Bacon__
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court’s

CM/ECF system upon all parties of record this 1st day of August, 2012.

                                                     _/s/ Thomas B. Bacon__




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